                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                         CASE NO. 5:22-MC-001-KDB-DCK

 THOMAS FORBES,                )
                               )
            Plaintiff,         )
                               )
    v.                         )                              ORDER
                               )
 GREGORY TRUCKING COMPANY,     )
 INC. GREGORY LEASING COMPANY, )
 INC., BSG LEASING, INC., and  )
 WILEY LENUE HOOKS,            )
                               )
            Defendant.         )
                               )


       THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 2) filed by Jon R. Moore, concerning Dino M. Tangredi, on

July 8, 2022. Dino M. Tangredi seeks to appear as counsel pro hac vice for Plaintiff. Upon review

and consideration of the motion, which was accompanied by submission of the necessary fee and

information, the Court will grant the motion.

       IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 2) is GRANTED. Dino M. Tangredi

is hereby admitted pro hac vice to represent Plaintiff.

       SO ORDERED.


                                       Signed: July 8, 2022




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